              Case 2:10-cv-08888-CJB-JCW Document 66494 Filed 04/20/11 Page 1 of 3


                                            lN RE: OIL SPILL by "Deepwater Horizon"
                                                       DTRECT FILING SHORT FORMl
                          Authorized by Order of tho Court, Civll Actlon No. 10 md 2179 Rec. Doc. 982
                  (Copies of sald Order having also been filed In Civil Actions No. 10-8888 and 10-27711
            79                                                                                                                         JUDGE CARL




       By submftting thi3 documsnt, I am assertlng a claim in Complaint and Petltlon of Triton Assst leasrng CmbH, et
        al., No. 10-2771i adopt and incorporate the Master Answer [Rec. Doc. 2441 to lhe Complalnt and Petltlon of Triton
       Asset Leasing Cmbh, et al., in No. 10-2771; and/or Intervene Into, Joln and otherwlse adopt the Master Complaint
       lRec. Doc,8791 for privato economlc losses ("Bl Bundle") filed in MDL No. 2179 (10 md 2179); and/or intervene
       into, ,oin and othe;wlse adopt the Master Complalnt [Rec, Doc. 8811 for post-€xptosion injurles ("83 Bundle")
       filed ln MDL No.2179 (10 md 2179).

       Last Ngme                                                                                            Middle Name/Maiden
      Chauvin
       Phong Number
      985 / 594-6304
                                                                                             City/State/Zlp

       INDIVIDUAL CLAIiI
                                                  LI                                         BUSINESS      CLAIM                       I.I_l
                                                                                                                                       tIl
       Employer Namg                                                                         g*i*r" N"..
                                                                                                    M/V DUSTY JAMES
      Job Title / DescdDtion                                                                 Type of Busin6ss
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      Address                                                                                Address
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      City / State /Zip                                                                      City/Slat€/Zp
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      Last 4 digits ot you. Soclal Security Number                                           Last 4 digits of your Tax lD Number
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      Anomoy Name


                                                                                         City/Strals/Zlp
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      Phone Number
     985/876-013r                                                                    I
                                                                                         E-Mail Address
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     clalm fled with   BP?            yES El                  NO f]                      Cleim Fited with     ccCF?: yES €                     NO El
     lf yes, BP Claim No.:                                                               lf ygs, Claimant ldontification   No.:
                                                                                                                                        3$7 4g7
     Clalm Typo (Pl€aso chock all that appty):
                                                                                                       Fearof Future Injury and/or Medical Monibring
                                                                                                       Loss of Subsistence use of Nalural Resources
                                                                                                       Removal and/or clgan-uD costg




I rhis forrn should be filed with the u.s- District court
                                                            for the Easte.n oistrict of Louisiana in New orleant l-ouisiana in civil Action No, 1o-E888. while this oirect
FillnS shoft Form ls to be filed lh cA No. 10-8888, by prlor order ofthe court, (Rec. Doc.245, c.A. No.
in C A. No. 10'8888 shall be deemed to be sihultaneously filed In c.A. 1e2771and MDL
                                                                                                      1G2771and Rec. Doc.          982                    ti nS of this form
                                                                                       2179. plain ff t-iaison counsel, afte.      bein                  ica y by the Cterk
ofcourt ofthe tiling ofthis shon Fotm, shallpromptly serve thls form through the Lexii Nexis servlce system on Defense
                                                                                                                         Liaison.
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         The frung of ahls Dlrec, Fillng short Fom shatt also serv? ld tteu of tho requirament ol
                                                                                                                    a ptai^alfr to tita a ptalnalf, ptoltto Fo.m.
      Case 2:10-cv-08888-CJB-JCW Document 66494 Filed 04/20/11 Page 2 of 3




Brief Descrlption:
1. For €amings/prolit loss. property damage                                                the nature of the injury' For claims
   ililil;;tateTproierty, inctude th€                                                     /commercial)' and wheth€r phvsical
   O"rigio"ar""O. For claims relating to li                                               n of fishing grounds at issue

                                                                                                            shrinpine

  actlvities,        I have sus talne d loss of earnr                     rofits.         vessel

  in che vessels of               rEunl             !aItr and sus!ained danages Ehereto ln                 addiElon

  Eo substantlal loss of monle s due and owing under che Vessels of OPPortunlty

  ConErac E slgned Ltith BP.              My prinary shriEplng area ls              in the Gulf of Mexico
  off of the Loulslana coast.



2. For p€rsonal injury claims, describe th6 injury, how and when it was sustained, and idontify all health cars providars and
    empioyers 2008 to present and complel6 authorization torms for each

  l was in contact with toxlc levels of oll fron the sPill in questlon' as well
  as dispersanc that has caused severe Personal injuries'




3. For post-€xplosion claims relatsd to clean-up or removal. include your role in the clean-up activitiss' the name ot your
    employer, and where you were worKlng.

  My boat/boacs worked as a vessel of oPPortunlty unde! a s                                 da     ee0ent with BP

   for clean up. I have noc been Paid for all of ny contractually agreed upon
   compensation for my boat as well as darnages susCained Co ny boat as a result
   of this operation.




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       Case 2:10-cv-08888-CJB-JCW Document 66494 Filed 04/20/11 Page 3 of 3



   Pleaso check tho box(er) below that you thlnk                          to you and your clalmr:

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                 crabung or oysl€dng.

      E Z. Soalbod procossor, dlstibutot, r€tail and soslood mark€t, or roslaurant owner and oporator, or an emplqyg€ tie.€oa.
      E S. R€ssatlonsl bu3lnass ownor. oparalor or wo.ker, including a recra8tionat lishing business, commerciat guida ssMcc, or ciano,
                 ishhg businogs uAo €am th8lr llving through th€ us€ or lh€ cult ol M€xico.

      E l.       Comm€rcial buslno3s. businos! ownor, op6rato. or wo.tgr, including commgrcial divgr!, otfshoro oilll€td
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      D 5.       R€cr6atlonal spgrt fithormln. rgcrratonsl divor. bllchgo€r, or rccrga on€l boate,,

      E 6.       Plant and dock work€r, Including comm€rcial s€afood plsnt ,a/orlot, longsho.eman,
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     tr 10. Pa[on wfio utillzaa nallrsl reaourca! lor subala]anca.
     D 11. Oth€r

     E t.       Bo€t capbln or crew Invotv€d in tho verset! of Oppotunity progr..n.

     g 2.       Wottgr Involved In dc@nlaminsllng voslolt lhlt c€mc Into co.tact with oit an(yo. chemtcal dt!D6.gEnt!.

     El 3      volrgl captriin or crew who w.!. nol involvrd in tho v69ssl3 ot opportuntty prqgram but who wlr€ oxposgd
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               odor! and €missloor during post-gxplorlon cle.n_uD acuvifle!.

     Er.       ClrltFurr wotl(.r ot baach p€asonnel lnvolv€d in cl€sn-up actlvitlss abog sho.Ellnor and iniercoastrl
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     EI5.      R€sldont who lhrca or urorkg in closc prorimity to coostll watg6.

     Es.       Othor


Both BP and tho Gulf coast claims Facllity ("GCCF) are h€reby authorized to retease
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